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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

 CAITO FOODS, LLC,                              )
                                                )
        Plaintiff,                              )
                                                )
         v.                                     ) CIVIL CASE NO.: 4:18-cv-00535-NCC
                                                )
 F2F, LLC d/b/a St. Louis Food HUB and          )
 d/b/a Fields Foods                             )
                                                )
 and                                            )
                                                )
 CHRISTOPHER GOODSON                            )
                                                )
        Defendants.                             )


                STIPULATION FOR DISMISSAL WITHOUT PREJUDICE
       Now come Plaintiff Caito Foods, LLC and Defendants F2F, LLC d/b/a St. Louis Food

HUB and d/b/a Fields Foods and Christopher Goodson, by and through their respective counsel of

record, and hereby stipulate and agree, pursuant to Fed. R. Civ. P. 41(a)(1), that all causes of action

in the Complaint may be and here are dismissed without prejudice, with each party bearing its own

fees and costs other than those fees and costs addressed in the Settlement Agreement.

Additionally, the parties stipulate and agree that any failure to abide by the Settlement Agreement

allows Plaintiff the ability to reopen this case on motion for the purpose of filing executed

Confessions of Judgment.
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       Respectfully Submitted,


s/ Eric M. Kyser                                 s/ John J. Coatar (with permission)
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Email: ekyser@martynlawfirm.com                  Attorneys for Defendants: F2F, LLC
Attorney for Plaintiff: Caito Foods, LLC         d/b/a Fields Foods and Christopher
                                                 Goodson
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                               CERTIFICATE OF SERVICE
       A copy of the foregoing Stipulation for Dismissal Without Prejudice was electronically

filed and served to all registered counsel of record through the Court’s ECF system this 19th day

of February 2019.


                                                     s/ Eric M. Kyser
                                                     Attorney for Plaintiff: Caito Foods, LLC
